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 Submitted by Defendants in Teddy Bearys Ltd. V. Dover Publications, Inc. et al


                                   DISCOVEI2~'PLAl~T i~O        SHEET'
    (Please be advised that ties Court's Individual Rules include additional for~sas t~ b~ ansed in cases
   `                 involving claims of adverse employrtAent or FL,SA violations.)
                                    ' Pier IPre-Settlement Discovery

   Deadline for completion of Rule 26(a) initial disclosures                             Oct. 5
   and HIPAA-complaint records authorizations:

  Completion date for Phase I Discovery                                                 Oct. 12
  as agreed upon by the parties:
  (Reciprocal and agNeed z~pon documentproduction,
  genet~ally not including depositions, z~nless otherwise agv~eed.
  No mope than 30 days afteY Initial Conference)
                                                                                        Nov. 1
  Status conference TBD by the court:
  (Generally IS days post Tier IDiscovery)

                                    'Veer II Discovery and lotion Practice
                                                                                      Nov. 2
  Motion to join new parties or amend the pleadings:
  (P~eszamptively 1S days post status confeNence)

  First requests for production of documents                                         Nov. 28
  and for interrogatories due by:
  (Presa~mptively IS days postjoining/amending)
                                                                                    March 2~, 2019
  All fact discovery completed by:
  (P~esumptively 3.5 months postfirst
  ~ega~estsfor documents/inteY~ogc~tories)
                                                                                    Apri126
  Exchange of expert reports completed by:
  (Presaarnptively 30 days postfact discovery)

  Expert depositions completed by:
                                                                                    May 24
  (Presaimptively 30 days post expert reports)

  Final date to take first step in dispositive motion practice:                     June 28
  (Pa~^ties are directed to consult the District Judge's
  individual ratles regaNding such Tnotion practice.
  Presumptively 30 days post expert depositions)

  COMFL~'7'IOliT O~'ALL I)I,SCO F~ER I'~~":•
                                                                                   June 21
  (Note: Pt^esumptively 9 months after Initial Conference.)

   Submission ofjoint pre-trial order:                                             Aug. 16


   Final Pre-Trial Conference TBD by the court:
